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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA


MARCUS INGRAM, Individually,                  :
                                              :
              Plaintiff,                      :
                                              :
v.                                            :   Case No.
                                              :
DELTA PARKING, INC                            :
A Domestic Company                            :
                                              :
          Defendant.                          :
__________________________________/

                                  COMPLAINT


       Plaintiff, Marcus Ingram (hereinafter “Plaintiff”), hereby sues the Defendant,

Delta Parking, Inc. a Domestic Company, (hereinafter “Defendant”), for Injunctive

Relief, and attorney’s fees, litigation expenses, costs and damages pursuant to the

Americans with Disabilities Act, 42 U.S.C. §12181 et seq. (“ADA”), Negligence,

Ga. Code Ann. §51-3-1, and Negligence per se, GA. Code Ann. §51-1-6. In support

thereof, Plaintiff states:

1.     This action is brought by Marcus Ingram, pursuant to the enforcement

provision of the Americans With Disabilities Act of 1990 (“ADA”), 42 U.S.C.

12188(a), and for negligence and negligence per se, against the owners and/or

operators of the Atlanta China Town mall.
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2.     This Court has jurisdiction pursuant to the following statutes:

              a.     28 U.S.C. §1331, which governs actions that arise from the

       Defendant’s violations of Title III of the Americans with Disabilities Act, 42

       U.S.C. §12181 et seq. See also 28 U.S.C. §2201 and §2202.

              b.     28 U.S.C. §1331, which gives District Courts original

       jurisdiction over civil actions arising under the Constitution, laws or treaties

       of the United States; and

              c.     28 U.S.C. §1343 (3) and (4), which gives District Courts

       jurisdiction over actions to secure civil rights extended by the United States

       government.

3.     This Court has supplemental jurisdiction pursuant to 28 U.S.C. §1367(a) over

Plaintiff’s State claim as violations of Georgia Code, arise from the same facts and

circumstances that give rise to Plaintiff’s ADA claim.

4.     Venue is proper in this judicial district and division. Defendant does business

in the State of Georgia, and all of the acts of discrimination alleged herein occurred

in this judicial district and division.




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                                       PARTIES

5.    Plaintiff Marcus Ingram is a resident of Atlanta, Georgia, uses a wheelchair

due to paraplegia, and is an individual with a disability within the meaning of

ADA, 42 U.S.C. 12102(2), 28 C.F.R. 36.1046.

6.    Plaintiff Marcus Ingram is substantially limited in performing one or more

major life activities, including but not limited to, walking.

7.    Plaintiff Marcus Ingram resides in close proximity to the property in question

and frequently visits such property.

8.    Plaintiff Marcus Ingram is a frequent patron at the Atlanta China Town mall

at 5389 New Peachtree Road, Chamblee, Georgia

9.    The Atlanta China Town mall is a place of public accommodation within the

meaning of Title III of the ADA, 42 U.S.C. 12181, 28 C.F.R. 36.104.

10.   Defendant owns, leases, leases to, or operates the Atlanta China Town mall,

and is responsible for complying with the obligations of the ADA.

                                       COUNT I

                            VIOLATION OF THE ADA

11.   Plaintiff realleges paragraphs one (1) through ten (10) of this Complaint and

incorporates them here as if set forth in full.




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12.     Plaintiff was a patron at the Atlanta China Town mall on or about January 5,

2022.

13.     Plaintiff has returned to the property since then and has definite plans to

return the property again in June 2022, to avail himself of the goods and services

offered to the public at the property but for the barriers in existence that deter him

from doing so.

14.     There are numerous architectural barriers present at the Atlanta China Town

mall that prevent and/or restrict access by Plaintiff, in that several features,

elements, and spaces of the Atlanta China Town mall are not accessible to or

usable by Plaintiff, as specified in 28 C.F.R 36.406 and the Standards for

Accessible Design, 28 C.F.R., Pt. 36, Appendix A (‘the Standards”).

15.     Plaintiff, upon visiting the property, personally suffered discrimination

because of his disability.

16.     There are several elements and spaces that Plaintiff personally encountered

and which discriminated against him based upon him disability, such as:

        a.    There is no accessible route from the Daily Dim Sum area to the rest

of the mall due to a set of stairs.

        b.    There are parking spaces that lack access aisles making them in

accessible to an individual in a wheelchair.

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      c.       There are no accessible tables in the dining area for an individual in a

      wheelchair to utilize.

      d.       The mall lacks an accessible route in and around the mall and the

restaurant area for a disabled individual in a wheelchair to utilize.

      e.       The property lacks an accessible route for a disabled individual to get

from the parking area to the restaurant.

      f.       The parking area contains ramps in the access aisles that make it

inaccessible to an individual in a wheelchair.

      g.       The access aisles have an excessively steep slope that creates a

dangerous condition for an individual in a wheelchair.

      h.       The toilet area in the restroom has no grab bar in the rear of the toilet

for a disabled individual in a wheelchair to utilize.

      i.       The coat hook in the public restroom is located too high for an

individual in a wheelchair to utilize.

      j.       The fixtures in the public restroom are located too high for an

individual in a wheelchair to utilize.

17.   The discriminatory violations described in paragraph 16 of this Complaint

are not an exclusive list of the Defendants’ ADA violations. The Plaintiff, and all

other mobility-impaired individuals similarly situated have been denied access to,

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and have been denied the benefits of, services, programs and activities of the

Defendant’s buildings and facilities, and have otherwise been discriminated against

and damaged by the Defendants because of the Defendant’s ADA violations, as set

forth above.

18.   The Plaintiff will continue to suffer such discrimination, injury and damage

without the immediate relief provided by the ADA as requested herein. The

Plaintiff has been denied access to, and has been denied the benefits of services,

programs and activities of the Defendant’s buildings and its facilities, the

opportunity to use such elements, and have otherwise been discriminated against

and damaged by the Defendants because of the Defendant’s ADA violations, as set

forth above.

19.   Plaintiff has standing to sue for every barrier to access for the mobility-

impaired that exists on the subject premises. Marcus Ingram has standing to require

that all barriers to access on the property for the mobility-impaired are corrected,

not merely only those Marcus Ingram personally encountered.

20.   Defendants' failure to remove the architectural barriers identified in

paragraph sixteen (16) constitutes a pattern or practice of discrimination within the

meaning of 42 U.S.C. 12188 (b)(1)(B)(i) and 28 C.F.R. 36.503 (a).




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21.   It would be readily achievable for the Defendant to remove the architectural

barriers identified above.

22.   Defendant is required to remove the existing architectural barriers to the

physically disabled when such removal is readily achievable for its place of public

accommodation that have existed prior to January 26, 1992, 28 CFR 36.304(a); in

the alternative, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then the Defendant is required to ensure to

the maximum extent feasible, that the altered portions of the facility are readily

accessible to and useable by individuals with disabilities , 28 CFR 36.402; and

finally, if the Defendant’s facility is one which was designed and constructed for

first occupancy subsequent to January 26, 1993, as defined in 28 CFR 36.401, then

the Defendant’s facility must be readily accessible to and useable by individuals

with disabilities as defined by the ADA.

23.   The Defendant has discriminated against Plaintiff by denying him access to,

and full and equal enjoyment of, the goods, services, facilities, privileges,

advantages and/or accommodations of the buildings, as prohibited by 42 U.S.C. §

12182 et seq. and 28 CFR 36.302 et seq

24.   Defendant continues to discriminate against the Plaintiff by failing to make

reasonable modifications in policies, practices or procedures, when such

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modifications are necessary to afford all offered goods, services, facilities,

privileges, advantages or accommodations to individuals with disabilities.

25.   Marcus Ingram has a realistic, credible, existing and continuing threat of

discrimination from the Defendants’ non-compliance with the ADA with respect to

this property as described, but not necessarily limited to, the allegations in

paragraph 16 of this Complaint. Plaintiff has reasonable grounds to believe that he

will continue to be subjected to discrimination in violations of the ADA by the

Defendants.

26.   Plaintiff is aware that it will be a futile gesture to re-visit the property until it

becomes compliant with the ADA.

27.   Plaintiff is without an adequate remedy at law and is suffering irreparable

harm. Plaintiff has retained the undersigned counsel and is entitled to recover

attorney’s fees, costs and litigation expenses from the Defendant pursuant to 42

U.S.C. § 12205 and 28 CFR 36.505.

28.   Notice to Defendant is not required as a result of the Defendant’s failure to

cure the violations by January 26, 1992 (or January 26, 1993, if Defendant has 10

or fewer employees and gross receipts of $500,000 or less). All other conditions

precedent have been met by Plaintiffs or waived by the Defendant.




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29.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

Plaintiff Injunctive Relief, including an order to require the Defendant to make the

property readily accessible and useable to the Plaintiff and all other persons with

disabilities as defined by the ADA; or by closing the facility until such time as the

Defendant cures its violations of the ADA.



                                     COUNT II
                                   NEGLIGENCE

30.   Plaintiff realleges paragraphs one (1) through twenty-nine (29) of this

Complaint and incorporates them here as if set forth in full.

31.   Defendant has a duty to maintain their premises so that the property is

compliant with the ADA.

32.   Defendant, by failing to maintain their property in compliance with the

standards of the ADA, breached their duty to the Plaintiff.

33.   Plaintiff, as an invitee on the premises owned and/or operated by Defendant,

was injured by Defendant’s failure to comply with the requirements of the ADA.

34.   Plaintiff has desired and attempted to enjoy the goods and services at

Defendant’s property as a patron. He has been prevented from doing so due to the

existing architectural barriers at the property.


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35.   As a result, he has been distressed and inconvenienced thereby, and is

entitled to monetary damages for his injuries.

36.   In accordance with Ga. Code Ann. §51-3-1, the owner or occupier of land is

liable for damages to individuals for injuries incurred by their failure to exercise

ordinary care in keeping the premises safe.

37.   As previously stated, Plaintiff was an invitee on the premises of Defendant.

38.   Defendant failed to use ordinary care in maintaining their property in

compliance with the ADA.

39.   Defendant breached their duty owed to Plaintiff, an invitee, by failing to

inspect the premises to ensure it was free from barriers to access.

40.   It is negligence for an entity to fail to implement ADA-mandated

requirements. See Smith v Wal-Mart Stores, Inc. 167 F.3d 286 (6th Cir. 1999)

41.   Plaintiff has a realistic, credible, existing and continuing threat of

discrimination from the Defendants’ non-compliance with the ADA with respect to

this property.

42.   Plaintiff has reasonable grounds to believe that he will continue to be

subjected to discrimination in violations of the ADA by the Defendants.

43.   Plaintiff has been aggrieved by Defendant’s breach of their duty, has

suffered irreparable harm, and is entitled to damages.

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                                     COUNT III
                               NEGLIGENCE PER SE

44.    Plaintiff realleges paragraphs one (1) through forty-three (43) of this

Complaint and incorporates them here as if set forth in full.

45.    Defendant’s failure to comply the ADA is per se negligence under Georgia

law.

46.    A plaintiff may assert a claim of negligence per se arising from violations of

federal or state statutes as long as (1) that plaintiff falls within the class of persons

the statute was intended to protect; (2) the harm complained of was the same harm

the statute was intended to guard against; and (3) the violation of the statute

proximately caused the plaintiff's injury. See Kull v. Six Flags Over Ga. II, 264

Ga.App. 715, 716, 592 S.E.2d 143 (2003).

47.    Plaintiff, a disabled individual, is within the class for whose benefit the

statute was enacted.

48.    In accordance with 28 C.F.R. § 36.304(a), a public accommodation shall

remove architectural barriers in existing facilities where such removal is readily

achievable.

49.    Defendant was required to perform and act for the benefit of another, i.e. to

make the property compliant with the ADA for the benefit of disabled individuals.


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50.   Plaintiff, by being denied access to the property of Defendant, was

humiliated, aggrieved, distraught and suffered emotional damages.

51.    Plaintiff has reasonable grounds to believe that he will continue to be

subjected to discrimination in violations of the ADA and Georgia law by the

Defendant.

52.   Plaintiff has been aggrieved by Defendant’s breach of their duty, has

suffered irreparable harm, and is entitled to damages for the breach of such legal

duty under Ga. Code Ann. §51-1-6.

53.   Since Defendant has engaged in the acts and practices described above,

Defendant has violated the law as alleged in this Complaint and unless restrained

by this Honorable Court, Defendant will continue to violate the Constitution and

laws of the United States of America, and will cause injury, loss and damage to the

Plaintiff, and all others so similarly situated.

WHEREFORE, Plaintiff respectfully requests that this Court:

      A.     Declare that Defendant has violated title III of the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq, 28 C.F.R. pt. 36, Ga. Code Ann. §51-3-

1, and GA. Code Ann. §51-1-6.




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           i.     by failing to bring the Atlanta China Town mall into

           compliance with the Standards where it is readily achievable to do so;

           and

           ii.    by failing to take other readily achievable measures to remove

           architectural barriers to access when it is not readily achievable to

           comply fully with the Standards.

      B.   Order Defendant:

           i.     to make all readily achievable alterations to the facility; or to

           make such facility readily accessible to and usable by individuals with

           disabilities to the extent required by the ADA;

           ii.    to make reasonable modifications in policies, practices or

           procedures, when such modifications are necessary to afford all offered

           goods, services, facilities, privileges, advantages or accommodations to

           individuals with disabilities.

      C.   Award attorney’s fees, costs and litigation expenses pursuant to 42

U.S.C. § 12205.

      D.   Award damages to Plaintiff.

      E.   Order such other appropriate relief as the interests of justice may

require.

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                                     Respectfully Submitted,

                                           By: /s/ Pete M. Monismith
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                               Font Certification

I certify that I prepared this document in 14 point Times New Roman font

and complied with the margin and type requirements of this Court.

                                           /s/ Pete Monismith
                                           Pete Monismith
